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AO 245B (Rev. 09/11)(VAED) Judgment in a Criminal Case
        Sheet I




                                         UNITED STATES DISTRICT COURT
                                                                                                           II
                                                   Eastern District of Virginia
                                                         Alexandria Division                         FEB    4 a20


UNITED STATES OF AMERICA
                    V.                                               Case Number; l:19-po-2340(6701245)
Jennifer G. Hernandez                                                USMS Number: 93366083


Defendant.                                                           Defendant's Attorney: Whitney Minter


                                          JUDGMENT IN A CRIMINAL CASE

    The defendant pleaded guilty to Count 6701245.
   The defendant is adjudicated guilty of these offenses.

                                           Nature of Offense                       Offense Class     Offense Ended   Count
Title and Section
                                           Entering or Remiiining on an            Petty             10/12/2019      6701245
32 CFR 1903.7(a)
                                           Agency Installation without
                                           Proper Authorization


      As pronounced on Februaiy 4, 2020, the defendant is sentenced as provided in pages 2 through 3 of this Judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
  It is ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment
are fully paid. If ordered to pay restitution, tiie defendant must notify the court and United States Attorney of material
changes in economic circumstances.

    Signed this 4th day of February 2020.                                       Jsl.
                                                                   John F. Anderson
                                                                   United States Magistrate Judge
                                                                    John F. Anderson
                                                                    United States Magistrate Judge
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